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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

JEANETTE VENTRONE, et al.,                      )
                                                )
              Plaintiffs,                       )
                                                )
                                                )
vs.                                             )    No.: 4:22-CV-00513-RWS
                                                )
WEBSTER UNIVERSITY,                             )
                                                )
              Defendant.                        )
                                                )

            DEFENDANT WEBSTER UNIVERSITY’S MOTION TO DISMISS

       Defendant Webster University (the “University”), by and through counsel, and pursuant

to Federal Rule 12(b)(6) moves the Court for an order dismissing the Plaintiffs’ Petition for

failure to state a claim upon which relief can be granted. In support, the University states as

follows:

       1.      Plaintiffs allege misrepresentations by the University regarding the accreditation

status with the Council for the Accreditation of Counseling and Related Educational Programs

(“CACREP”) of a master’s level mental health counseling program.

       2.      While the University denies that it misled Plaintiffs about CACREP accreditation

status, even when accepting as true the Plaintiffs’ allegations that the University made

misrepresentations about its CACREP accreditation status, Plaintiffs fail to state claims upon

which relief can be granted.

       3.      Plaintiffs’ claims for common law fraud in Count I and violation of the Missouri

Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et seq., (the “MMPA”) in Count II are

barred by Missouri’s educational malpractice doctrine because Plaintiffs’ damages claims
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requires the Court to calculate an alleged diminished value of their education. All claims should

therefore be dismissed.

       4.        Plaintiffs’ MMPA claims should also be dismissed because they are factually

deficient and because Plaintiffs’ allegations demonstrate that they pursued coursework at the

University for a business purpose, which requires dismissal of their MMPA claim for lack of

standing.

       5.        Plaintiffs fail to allege any facts to demonstrate that their claims involve a

transaction in or from Missouri as required under Mo. Rev. Stat. § 407.020.1.

       6.        The Petition’s allegations also establish that the transactions at issue were for a

business purpose—not a personal, family, or household purpose as required under Mo. Rev. Stat.

§ 407.05.1(1).

       7.        Plaintiffs lack standing under the MMPA, and Count II should be dismissed.

       8.        The University further fully incorporates by reference its contemporaneously filed

memorandum in support.

       WHEREFORE, Defendant Webster University respectfully requests that the Court grant

this motion, dismiss all claims with prejudice, award Defendant Webster University its costs and

attorney fees incurred, and grant such further relief as the Court deems just and proper.

                                                      ARMSTRONG TEASDALE LLP


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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 2, 2022, the foregoing was filed electronically with the Clerk

of the Court to be served by operation of the Court’s electronic filing system and emailed to the

following:

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                                                    /s/ Travis R. Kearbey




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